

Mohamed v Abuhamra (2023 NY Slip Op 06616)





Mohamed v Abuhamra


2023 NY Slip Op 06616


Decided on December 22, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, MONTOUR, GREENWOOD, AND DELCONTE, JJ.


781 CA 22-01937

[*1]ABLA MOHAMED, PLAINTIFF-RESPONDENT,
vHANI ABUHAMRA, DEFENDANT-APPELLANT. (APPEAL NO. 3.) 






JAMES P. RENDA, WILLIAMSVILLE, FOR DEFENDANT-APPELLANT.
THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ERIN L. WHITCOMB OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Erie County (Lynn W. Keane, J.), entered June 29, 2022, in a divorce action. The judgment awarded attorneys' fees to plaintiff's attorneys. 
It is hereby ORDERED that the judgment so appealed from is unanimously vacated and the order entered May 6, 2022 is reversed on the law without costs and plaintiff's application for attorneys' fees is denied in its entirety.
Same memorandum as in Mohamed v Abuhamra ([appeal No. 1] — AD3d — [Dec. 22, 2023] [4th Dept 2023]).
Entered: December 22, 2023
Ann Dillon Flynn
Clerk of the Court








